Case 23-58494-sms     Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24   Desc Main
                               Document      Page 1 of 37



                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:
                                               CHAPTER 11
 RA CUSTOM DESIGN, INC.,                       SUBCHAPTER V

          Debtor.                              CASE NO. 23-58494-sms


                           PLAN OF REORGANIZATION

                       Dated this 30th day of November, 2023
 ____________________________________________________________________________

                                       Filed by:

                                RA Custom Design, Inc.

                                   Attorney for Debtor
                                Cameron M. McCord, Esq.
                                  Jones & Walden LLC
                                  699 Piedmont Ave NE
                                 Atlanta, Georgia 30308
                                     (404) 564-9300
Case 23-58494-sms          Doc 36     Filed 11/30/23 Entered 11/30/23 17:14:24                 Desc Main
                                     Document      Page 2 of 37



        COMES NOW RA Custom Design, Inc., Debtor and Debtor in possession in the above-
captioned case (“Debtor”), and, pursuant to sections 1123, 1189, and 1190 of title 11 of the United
States Code (the “Bankruptcy Code”) and Rule 3016 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”), proposes this Plan of Reorganization (the “Plan”) for the resolution of
the Claims against Debtor. Debtor is the proponent of this Plan as required under section 1191 of
the Bankruptcy Code.

                                             Article 1
                            Contents of the Plan; Required Disclosures

       1.      Subchapter V Plan of Reorganization. This Plan is filed under Subchapter V of
Chapter 11 of the Bankruptcy Code.

        2.      History of the Debtor’s Business Operations.

        Debtor is a Georgia corporation and as its business, Debtor is a custom residential home
builder located at 2451 Cumberland Parkway, #3946, Atlanta, Georgia 30339 (the “Business”).
Debtor’s sole shareholder and CEO is Mr. Raymond Curry. Mr. Curry is engaged on a full-time
basis in Debtor’s business. Mr. Curry is responsible for the day-to-day operations of the business.

        Debtor had issues with cost overruns on materials and supply chains to deliver materials to
finalize certain builds. This caused Debtor to fall behind on certain mortgage payments and was
threatened with foreclosure on certain property located at 1410 Lavista Road. Debtor filed
bankruptcy on September 1, 2023 to reorganize its financial affairs without the threat of collection.

        3.      Current Management and Employees.

                3.1.    Directors and Officers of Reorganized Debtor.

        Raymond Curry will remain the as CEO and sole shareholder of the Debtor and will receive
a salary of $20,000.00 per month.

        4.      Liquidation Analysis.

        Debtor is paying all creditors in full. Holders of claims would not receive any greater return
in a liquidation of Debtor’s assets. Moreover, in liquidation, the trustee would incur costs
associated with liquidation such as broker fees. Conversion and liquidation under Chapter 7 of the
Bankruptcy Code would result in the appointment of a Chapter 7 trustee and the liquidation of
assets. Assets disposed of by “liquidation” or “fire” sale generate significantly less proceeds than
assets that are marketed and sold as a going concern. Additionally, a Subchapter V trustee or
Chapter 7 trustee would incur trustee’s fees pursuant to § 326(a) or § 330 of the Bankruptcy Code. 1

1
 11 USC § 326(a) states that a Chapter 7 trustee would incur trustee’s fees equal to 25% of the first $5,000
of Liquidation Value of Assets; 10% of amount in excess of $5,000 but not in excess of $50,000 of
Liquidation Value of Assets; 5% of any amount in excess of $50,000 but not in excess of $1,000,000; 3%
of any amount in excess of $1,000,000 of the Liquidation Value of Asset, and commissions for auctioneers


                                                     2
Case 23-58494-sms           Doc 36     Filed 11/30/23 Entered 11/30/23 17:14:24                   Desc Main
                                      Document      Page 3 of 37




        5.     Alternative Confirmation Standards Under Section 1191(a) and (b). Debtor seeks
to confirm this Plan by obtaining the consent of all Impaired Classes provided for in this Plan by
a majority in number and two-thirds in amount of Allowed Claims actually voting. If Debtor
succeeds in obtaining the consent of all Impaired Classes, the provisions of the Plan referencing
and operating under section 1191(a) of the Bankruptcy Code will apply. If Debtor is unable to
obtain the consent of all Impaired Classes, Debtor will request the Court to confirm the Plan under
1191(b). In this case, the provisions of the Plan referencing and operating under section 1191(b)
of the Bankruptcy Code will apply.

       6.       Property and Claims. This Plan deals with all property of Debtor and provides for
treatment of all Claims against Debtor and its property.


                                               Article 2
                                  Definitions and General Provisions

       For the purposes of this Plan, except as otherwise expressly provided or unless the context
otherwise requires, all capitalized terms not otherwise defined shall have the meanings ascribed to
them in this Article of the Plan. Any term that is not defined herein, but is defined in the
Bankruptcy Code or the Bankruptcy Rules, shall have the meaning ascribed to that term therein.

      2.1        Definitions. The following terms, when used in this Plan, shall have the following
meaning:

               2.1.1 “Administrative Expense Claim” means a Claim for payment of an
administrative expense entitled to priority under section 507(a)(2) of the Bankruptcy Code.

              2.1.2 “Allowed Claim” shall mean a Claim or any portion thereof that is
enforceable against Debtor or enforceable against the property of Debtor under sections 502 or
503 of the Bankruptcy Code.

               2.1.3 “Allowed Secured Claim” shall mean the amount of the allowed Claim held
by parties secured by property of Debtor which is equal to the amount provided by the Plan unless
such other amount is stipulated as constituting the allowed secured claim between the parties, or
such amount as the Bankruptcy Court allows.

             2.1.4 “Allowed Unsecured Claim” shall mean Allowed Claims which are not
allowed administrative, priority, or secured claims.

for personal property generally is equivalent to ten (10%) percent of the gross sales price and commissions
for real property brokers is generally six percent (6%) of the gross sales price. In addition, the attorney for
the Chapter 7 trustee would incur attorney’s fees as would the current Chapter 11 attorneys.

11 USC § 330 provides for reasonable compensation for actual, necessary services rendered by the
Subchapter V trustee and reimbursement for actual, necessary expenses. The Subchapter V trustee’s hourly
rate is $450.00.
                                                      3
Case 23-58494-sms        Doc 36     Filed 11/30/23 Entered 11/30/23 17:14:24             Desc Main
                                   Document      Page 4 of 37




                2.1.5 “Assets” means, collectively, all of the property, as defined by section 541
of the Bankruptcy Code, of the Estate of Debtor (including without limitation, all of the assets,
property, interests (including equity interests) and effects, real and personal, tangible and
intangible, including all Avoidance Actions), wherever situated as such properties exist on the
Effective Date or thereafter.

               2.1.6 “Avoidance Action” means any claim or cause of action of the Estate arising
out of or maintainable pursuant to sections 502, 510, 541, 542, 543, 544, 545, 547, 548, 549, 550,
551 or 553 of the Bankruptcy Code or any other similar applicable law, regardless of whether such
action has been commenced prior to the Effective Date.

               2.1.7 “Ballot” means each of the ballot forms that are distributed with the Plan to
Holders of Claims included in the Classes that are Impaired under this Plan and are entitled to vote.

               2.1.8 “Bankruptcy Case” means the chapter 11 case initiated by Debtor’s filing
on the Filing Date of a voluntary petition for relief in the Bankruptcy Court under Subchapter V
of Chapter 11 of the Bankruptcy Code.

               2.1.9   “Bankruptcy Code” means title 11 of the United States Code.

               2.1.10 “Bankruptcy Court” means the United States Bankruptcy Court for the
Northern District of Georgia, Atlanta Division.

               2.1.11 “Bankruptcy Rules” means, collectively, the Federal Rules of Bankruptcy
Procedure.

               2.1.11. “Bar Date” means November 13, 2023, which is the date established by the
Court as the deadline for nongovernmental entities to file a proof of claim pursuant to docket
number 6 (the “Bar Notice”). The terms of the Bar Notice will continue in full effect after the
Effective Date.

                2.1.12 “Business Day” means any day on which the commercial banks are required
to be open for business in Atlanta, Georgia and which is not a weekend or legal holiday recognized
by the Bankruptcy Court or the Superior Courts of the State of Georgia.

               2.1.13 “Cash” means legal tender of the United States of America and equivalents
thereof.

                2.1.14 “Causes of Action” means all Avoidance Actions and any and all of
Debtor’s actions, suits, accounts, agreements, promises, rights to payment and claims, whether
known or unknown, reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed,
contingent, matured, unmatured, disputed, undisputed, secured, unsecured, and whether asserted
or assertable directly or derivatively, in law, equity, or otherwise.

               2.1.15 “Chapter 11” means chapter 11 of the Bankruptcy Code.

                                                 4
Case 23-58494-sms        Doc 36     Filed 11/30/23 Entered 11/30/23 17:14:24             Desc Main
                                   Document      Page 5 of 37




               2.1.16 “Claim” means a claim against Debtor whether or not asserted, as defined
in section 101(5) of the Bankruptcy Code.

               2.1.17 “Classes” means a category of Claims described in this Plan.

              2.1.18 “Confirmation Date” means the date on which the Bankruptcy Court enters
the Confirmation Order.

               2.1.19 “Confirmation Hearing” means the hearing before the Bankruptcy Court
held to consider confirmation of this Plan and related matters under section 1191 of the Bankruptcy
Code, as such hearing may be continued.

               2.1.20 “Confirmation Order” means the order confirming this Plan pursuant to
section 1191 of the Bankruptcy Code that the Bankruptcy Court enters, which shall be in all
respects reasonably acceptable to Debtor.

               2.1.21 “Debtor” shall mean RA Custom Design, Inc., the debtor in this Bankruptcy
Case.

               2.1.22 Intentionally Omitted.

                2.1.23 “Disallowed Claim” means a Claim or any portion thereof that: (i) has been
disallowed by a Final Order, (ii) is listed in any of Debtor’ Schedules at zero, unknown, contingent,
disputed, or unliquidated and as to which a proof of claim bar date has been established but no
proof of claim has been timely filed or deemed timely filed with the Bankruptcy Court, or (iii) is
not listed in Debtor’ Schedules and as to which a proof of claim bar date has been established but
no proof of claim has been timely filed or deemed timely filed with the Bankruptcy Court.

               2.1.24 “Disputed Claim” means, with reference to any Claim, a Claim or any
portion thereof, that is the subject of an objection timely filed in the Bankruptcy Court and which
objection has not been withdrawn, settled or overruled by a Final Order of the Bankruptcy Court.

              2.1.25 “Distribution” means any distribution by Debtor or reorganized Debtor to a
Holder of an Allowed Claim.

               2.1.26 “District Court” means the United States District Court for the Northern
District of Georgia, Atlanta Division.

               2.1.27 “Effective Date” means the date that is 60 days after entry of a Confirmation
Order.

               2.1.28 “Estate” means, with regard to Debtor, the estate that was created by the
commencement by Debtor of the Bankruptcy Case pursuant to section 541 of the Bankruptcy
Code, and shall be deemed to include, without limitation, any and all rights, powers, and privileges
of such Debtor and any and all interests in property, whether real, personal or mixed, rights, causes

                                                 5
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24              Desc Main
                                  Document      Page 6 of 37



of action, avoidance powers or extensions of time that such Debtor or such estate shall have had
as of the commencement of the Bankruptcy Case whether by virtue of sections 541, 544, 545, 546,
547, 548, 549 or 550 of the Bankruptcy Code, or otherwise. In the event that this Plan is confirmed
by the Bankruptcy Court under section 1191(b) of the Bankruptcy Code, such definition shall also
include (1) all of the property defined by section 541 of the Bankruptcy Code and (2) any earnings
from services performed by the Debtor after the commencement of the Bankruptcy Case but before
the Bankruptcy Case is closed, dismissed, or converted to a case under Chapter 7, 12, or 13,
whichever occurs first.

              2.1.29 “Executory Contract or Unexpired Lease” means all executory contracts
and unexpired leases to which Debtor is a party.

               2.1.30 “Filing Date” means September 1, 2023.

               2.1.31 “Final Distribution” means the Distribution by Debtor or reorganized
Debtor that satisfies all Allowed Claims to the extent provided in accordance with the Plan.

                2.1.32 “Final Distribution Date” means the Distribution Date on which the Final
Distribution is made.

               2.1.33 “Final Order” means an order of the Bankruptcy Court, the District Court,
or any other court as to which (i) any appeal that has been taken has been finally determined or
dismissed, or (ii) the time for appeal has expired and no appeal has been filed timely. In the case
of an order of the Bankruptcy Court, the time for appeal, for purposes of this definition, shall be
the time permitted for an appeal to the District Court.

                2.1.34 “Government Bar Date” in accordance with 11 U.S.C. §502, is 180 days
after the order for relief (here the Filing Date) and means March 25, 2024.

               2.1.34.1 “Holder” means a holder of a Claim or Interest, as applicable.

             2.1.35 “Impaired” shall have the meaning ascribed thereto in section 1124 of the
Bankruptcy Code.

               2.1.36 “Initial Distribution Date” means the Effective Date.

               2.1.37 “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

               2.1.38 “Person” means an individual, corporation, partnership, joint venture,
association, joint stock company, limited liability company, limited liability partnership, trust,
estate, unincorporated organization, governmental unit (as defined in section 101(27) of the
Bankruptcy Code) or other entity.

              2.1.39 “Plan” means this plan of reorganization as same may hereafter be
corrected, amended, supplemented, restated, or modified.



                                                6
Case 23-58494-sms        Doc 36     Filed 11/30/23 Entered 11/30/23 17:14:24             Desc Main
                                   Document      Page 7 of 37



               2.1.40 “Priority Claim” means a Claim entitled to priority under the provisions of
section 507(a) of the Bankruptcy Code other than an Administrative Expense Claim or a Priority
Tax Claim.

                2.1.41 “Priority Tax Claim” means a Claim against Debtor that is of a kind
specified in sections 507(a)(8) of the Bankruptcy Code.

               2.1.42 “Professional Compensation” means (1) any amounts that the Bankruptcy
Court allows pursuant to section 330 of the Bankruptcy Code as compensation earned, and
reimbursement of expenses incurred, by professionals employed by Debtor and the fees and
expenses of the Subchapter V Trustee, and (2) any amounts the Bankruptcy Court allows pursuant
to sections 503(b)(3) and (4) of the Bankruptcy Code in connection with the making of a substantial
contribution to the Bankruptcy Case.

              2.1.43 “Record Date” means any date established in the Confirmation Order or any
other Final Order of the Bankruptcy Court for determining the identity of holders of Allowed
Claims entitled to Distributions under this Plan. If no Record Date is established in the
Confirmation Order or any other order of the Bankruptcy Court prior to the Confirmation Date,
then the Record Date shall be the Confirmation Date.

               2.1.44 “Record Holder” means the Holder of a Claim as of the Record Date.

               2.1.45 “Released Parties” means Debtor.

                2.1.46 “Retained Action” means all claims, Causes of Action, rights of action, suits
and proceedings, whether in law or in equity, whether known or unknown, which Debtor or
Debtor’ Estate may hold against any Person, including, without limitation, (i) claims and Causes
of Action brought prior to the Effective Date, (ii) claims and Causes of Action against any Persons
for failure to pay for products or services provided or rendered by Debtor, (iii) claims and Causes
of Action relating to strict enforcement of Debtor’s intellectual property rights, including patents,
copyrights and trademarks, (iv) claims and Causes of Action seeking the recovery of Debtor’s
accounts receivable or other receivables or rights to payment created or arising in the ordinary
course of Debtor’ business, including without limitation, claim overpayments and tax refunds, and
(v) all Causes of Action that are Avoidance Actions.

              2.1.47 “Schedules” means the Schedules of Assets and Liabilities Debtor filed in
the Bankruptcy Case, as such Schedules may be amended from time to time in accordance with
Bankruptcy Rule 1009.

               2.1.48 “Secured Claim” means a Claim against Debtor to the extent secured by a
Lien on any property of Debtor on the Petition Date to the extent of the value of said property as
provided in section 506(a) of the Bankruptcy Code.

                 2.1.49 “Subchapter V Trustee” means John T. Whaley who was appointed by the
United States Trustee under section 1183(a) of the Bankruptcy Code to serve as the Subchapter V
trustee in this Bankruptcy Case, and any successor trustee to John T. Whaley.

                                                 7
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24             Desc Main
                                  Document      Page 8 of 37




                 2.1.50 “Subordinated Claim” means any Unsecured Claim that is subordinated in
priority to all other Allowed Unsecured Claims pursuant to the provisions of section 510 of the
Bankruptcy Code or other applicable law.

                2.1.51 “Unimpaired” means, with respect to a Class of Claims or Interests, any
Class that is not Impaired.

               2.1.52 “Unsecured Claim” means any Claim against Debtor that is not a Secured
Claim, a Priority Claim, a Priority Tax Claim, or an Administrative Expense Claim.

        2.2     Time. Whenever the time for the occurrence or happening of an event as set forth
in this Plan falls on a day which is a Saturday, Sunday, or legal holiday under the laws of the
United States of America or the State of Georgia, then the time for the next occurrence or
happening of said event shall be extended to the next day following which is not a Saturday,
Sunday, or legal holiday.

        2.3     Events of Default.     Unless otherwise specifically provided in a class under the
Plan, in the event of a default by Debtor in payments or otherwise pursuant to Class 1 - 10 under
the Plan, the Holder must send written notice (“Default Notice”) to Debtor at the addresses of
record for Debtor as reflected on the docket for this Bankruptcy Case, unless Debtor has provided
the Holder with a written notice of a change of address. Such Default Notice must contain the
reason for the default and if such default is monetary, the amount of the default and amount
necessary to cure the default, as well as notice that Debtor has ten (10) days (in the case of a
monetary default) and thirty (30) days (in the case of a non-monetary default) from receipt by
Debtor and Debtor’s counsel of the Default Notice (or the following business day if the 10th or 30th
day does not fall on a business day) to cure such default (and the address for payment, which will
accept overnight deliveries, in the event of a monetary default). The Holder must send such
Default Notice to (a) Debtor via certified mail or recognized overnight carrier with a copy to
Debtor via email or fax and (b) by certified mail to Cameron M. McCord and Leon S. Jones (Jones
& Walden, LLC) at the address reflected in the then current directory of the State of Bar of Georgia
with a copy via email or fax. In the event the Plan is confirmed under 1191(b), the Holder must
also provide a copy of the Default Notice to the Subchapter V Trustee at the address reflected on
the case docket. Debtor shall have ten (10) days or thirty (30) days (as applicable) from Debtor’s
and Debtor’s counsel’s receipt of the Default Notice to cure such default. Receipt by Debtor’s
Attorney or the Subchapter V Trustee shall not be deemed receipt by Debtor of the required Default
Notice. Notwithstanding anything to the contrary in the Plan or otherwise, a default under one
Class of Claims or sub-class of Claims shall not constitute a default under any other Class of
Claims or sub-class of Claims. (For example a default under Class 1 shall not constitute a default
under Class 2). In the event of a default under the Plan as to any creditor or creditors and Debtor
cures any such default, then the terms of the Plan shall remain in effect and Debtor shall then be
deemed to be in compliance with the Plan and the injunction as to such creditor or creditors shall
be and remain unaffected without further order, action or notice, and without limitation, such
creditor or creditors shall be enjoined from taking any actions prohibited by the terms of the Plan
(including without limitation Section 11.5 of the Plan). In the event of an uncured default, then
such creditor may take any action provided for by law to enforce the terms of the Plan, but the

                                                 8
Case 23-58494-sms         Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24               Desc Main
                                   Document      Page 9 of 37



injunction of the Plan shall remain in place to prohibit any action other than to enforce the terms
of the Plan.

         2.4     Notices. All notices under the Plan shall be in writing. Unless otherwise
specifically provided herein, all notices shall be sent to Debtor via U.S. Certified Mail Return
Receipt or by recognized overnight carrier to the address of record for Debtor in this Case, unless
Debtor has provided such Holder with written notice of change of address for Debtor, with a copy
via email or fax and certified mail or nationally recognized overnight delivery service to Cameron
M. McCord and Leon Jones at the address reflected in the then current directory of the State Bar
of Georgia. In the event the Plan is confirmed under 1191(b), all notices under the Plan must also
be provided to the Subchapter V Trustee at the address reflected on the case docket. Receipt of
notice by Cameron M. McCord and Leon Jones (Jones & Walden, LLC) or the Subchapter V
Trustee shall not be deemed receipt by Debtor of the required notice. Notice to creditors may be
provided (a) at the address set forth on the proof of claim filed by such Holder, (b) at the address
set forth in any written notices of address change delivered to Debtor after the date of any related
proof of claim, (c) at the addresses reflected in the Schedules if no proof of claim has been filed
and Debtor has not received a written notice of a change of address, or (d) if the Holder’s address
is not listed in the Schedules, at the last known address of such Holder according to the Debtor’s
books and records. Notices shall be deemed received: (i) on the day transmitted if sent via fax or
email and (ii) on the day delivered if sent via nationally recognized overnight delivery service or
Certified Mail Return Receipt.

                                             Article 3
                              Classification of Claims and Interests

        3.1      Summary. The categories of Claims and Interests set forth below classify all
Claims against Debtor for all purposes of this Plan. A Claim or Interest shall be deemed classified
in a particular Class only to the extent the Claim or Interest qualifies within the description of that
Class and shall be deemed classified in a different Class to the extent that any remainder of such
Claim or Interest qualifies within the description of such different Class. The treatment with
respect to each Class of Claims and Interests provided for in Article 4 shall be in full and complete
satisfaction, release and discharge of such Claims and Interests.

       3.2     Classes:

               1.1.    Class 1 shall consist of the Priority or Secured Tax Claim of the Internal
                       Revenue Service.

               1.2.    Class 2 shall consist of the Priority or Secured Tax Claim of the Georgia
                       Department of Revenue.

               1.3.    Class 3 shall consist of the Priority or Secured Tax Claims of Governmental
                       Units Not Otherwise Classified.




                                                  9
Case 23-58494-sms         Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24              Desc Main
                                   Document     Page 10 of 37



                1.4.    Class 4 shall consist of the Secured Claims of FRC VTX Assets, LLC dba
                        Flatiron Realty Capital.

                1.5.    Class 5 shall consist of the Secured Claims of SSA NE Assets dba Flatiron
                        Realty Capital.

                1.6.    Class 6 shall consist of the Secured Claims of Homegrown Capital.

                1.7.    Class 7 shall consist of the Secured Claims of Precision Group Drywall &
                        Painting Incorporated.

                1.8.    Class 8 shall consist of the Secured Claims of Robert Smith.

                1.9.    Class 9 shall consist of the Secured Claims of Everest Business Funding,
                        Hybrid Advance, Infusion Capital Group, Rekeep Investments, Thor
                        Capital Group, and Velocity Capital Group.

                1.10.   Class 10 shall consist of the General Unsecured Claims.

                1.11.   Class 11 shall consist of the Equity Claims.


                                            Article 4
                                Treatment of Claims and Interests

         The Classes, the treatment of each Class, and the voting rights of each Class are set forth
below.

        Debtor reserves the right to pay any claim in full at any time in accordance with the terms
of the Plan (i.e. at the percentage distribution designated in the Plan and including any accrued and
unpaid interest, if any) without prepayment penalty.

         4.1    Class 1: Secured or Priority Tax Claims of the Internal Revenue Service

        Class 1 consists of any Secured Claim or Priority Tax Claim against Debtor held by the
Internal Revenue Service (the “IRS”) which was assessable or due and payable prior to the Filing
Date or treated as arising prior to the Filing Date pursuant to 11 U.S.C. § 502(i) (the “Class 1 IRS
Tax Claim”). Debtor has not listed the IRS as a creditor. The IRS has not filed a proof of claim in
this case.

        The Government Bar Date for filing proofs of claim is fixed by 11 U.S.C. § 502 and is
February 28, 2024. Upon passage of the Government Bar Date, any claim asserted or assertable
by the IRS on or before the Filing Date or treated as arising prior to the Filing Date pursuant to 11
U.S.C. § 502(i) shall: (i) be time barred and fixed as provided in the Plan, subject to Debtor’s right
to object to the same and (ii) any other, additional, or amended claim assessable on or prior to the
Filing Date shall be disallowed in its entirety and forever discharged. Debtor shall pay any claim

                                                 10
Case 23-58494-sms         Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24               Desc Main
                                   Document     Page 11 of 37



of the IRS assessable, arising prior to the Filing Date or treated as arising prior to the Filing Date
pursuant to 11 U.S.C. § 502(i) on the terms herein, and the IRS shall be permanently enjoined from
seeking payment in excess of the amounts provided for in the Plan for such claims. After the
Government Bar Date, any estimated claim of the IRS shall be capped at (i) if a proof of claim was
timely filed, the amount provided in the proof of claim filed by the IRS prior to the Bar date or (ii)
if no proof of claim is timely filed, the amount provided in Debtor’s schedules, unless the Debtor
scheduled such amount as unliquidated, contingent, or disputed, or if no claim was scheduled, in
which case such amounts will be $0.00.

        Any Class 1 IRS Tax Claim shall be paid pursuant to Class 1, and any IRS general
unsecured tax claim is specifically classified and will be paid pursuant to the General Unsecured
Class 10. Debtor shall pay any Allowed Class 1 IRS Tax Claim in equal monthly payments of
$50.00 each commencing on the 28th day of the first full month following the Effective Date and
continuing by the 28th day of each subsequent month (or the next Business Day if the 28th day is
not a business day), until paid in full; provided, however, that any Allowed Class 1 IRS Tax Claim
that has not been paid in full on or before the 5th anniversary of the Filing Date shall be paid with
a final balloon payment on the 5th anniversary of the Filing Date (i.e. September 1, 2028) unless
such Holder agrees to a longer payment term, which such agreement may be communicated by the
Holder continuing to accept monthly payments after September 1, 2028. Any third-party payments
or payments in excess of the scheduled distribution pursuant to Class 1 received by the IRS shall
be applied to the principal tax obligation of the Class 1 IRS Tax Claim owed by Debtor pursuant
to Class 1. Debtor’s Class 1 payments shall be applied in the following order: (i) interest accruing
on the Class 1 Tax Claim after the Effective Date under the Plan, (ii) the taxes included in the
Class 1 IRS Tax Claim, and (iii) interest and penalties which accrued prior to the Filing Date and
Effective Date.

        A failure by the Debtor to make a payment on the Class 1 IRS Tax Claim to the IRS
pursuant to the terms of the Plan shall be an event of default as to the IRS. In the event of a default
under Class 1, the IRS must send a Default Notice to Debtor in accordance with Article 2.3 of the
Plan. Such Default Notice must contain the reason for the default and if such default is monetary,
the amount of the default and amount necessary to cure the default and the address for payment,
which will accept overnight deliveries. Receipt by Debtor’s attorney shall not be deemed receipt
by Debtor of the required Default Notice. In the event of an uncured default under Class 1
following proper Default Notice procedures and opportunity to cure pursuant to Article 2.3 of the
Plan, the IRS may (a) enforce the entire amount of its then outstanding Allowed Class 1 IRS Tax
Claim; (b) exercise any and all rights and remedies it may have under applicable non-bankruptcy
law regarding the Allowed Class 1 IRS Tax Claim; and (c) seek such relief as may be appropriate
in the Bankruptcy Court.

        The amount of any claim of the IRS that is not otherwise assessable or due and payable on
or prior to the Filing Date or treated as arising prior to the Filing Date pursuant to 11 U.S.C.
§ 502(i), and the right of the IRS, if any, to payment in respect thereto, shall: (i) be determined in
the manner in which the amount of such Claim and the rights of the IRS would have been resolved
or adjudicated if the Bankruptcy Case had not been commenced, (ii) survive after the Effective
Date as if the Bankruptcy Case had not been commenced, and (iii) not be discharged pursuant to
section 1192 or 1141 (as applicable) of the Bankruptcy Code. The rights and treatment of the IRS

                                                  11
Case 23-58494-sms         Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24               Desc Main
                                   Document     Page 12 of 37



and obligations and liability of Debtor or its property regarding any claim of the IRS against Debtor
which was assessable or due and payable prior to the Filing Date or treated as arising prior to the
Filing Date pursuant to 11 U.S.C. § 502(i), however, shall be treated and fixed in accordance with
the Plan, and any additional, other or amended claims assessable or due and payable prior to the
Filing Date and not timely asserted or amended by the IRS in accordance with the Bankruptcy
Code and the Plan and in all instances prior to entry of the Confirmation Order, shall be forever
barred. Debtor reserves the right to pay any tax claim in full at any time.

       The Claim of the Class 1 Creditor is not Impaired by the Plan and the holder of the Class
1 Claim is conclusively deemed to have accepted the plan.

       Nothing herein shall constitute an admission as to the nature, validity, or amount of such
claim. Debtor reserves the right to object to any and all claims.

       4.2     Class 2: Priority Tax Claims of the Georgia Department of Revenue

        Class 2 shall consist of any Secured Claim or Priority Tax Claim against Debtor held by
the Georgia Department of Revenue (the “GDR”) which was assessable or due and payable prior
to the Filing Date or treated as arising prior to the Filing Date pursuant to 11 U.S.C. § 502(i) (the
“Class 2 GDR Tax Claim”). Debtor has not listed the GDR as a creditor. The GDR has not filed a
proof of claim in this case.

        The Government Bar Date for filing proofs of claim is fixed by 11 U.S.C. §502 and is
February 28, 2024. Upon passage of the Government Bar Date, any claim asserted or assertable
by the GDR on or before the Filing Date or treated as arising prior to the Filing Date pursuant to
11 U.S.C. § 502(i) shall: (i) be time barred and fixed as provided in the Plan, subject to Debtor’s
right to object to the same and (ii) any other, additional, or amended claim assessable on or prior
to the Filing Date shall be disallowed in its entirety and forever discharged. Debtor shall pay any
claim of the GDR assessable, arising prior to the Filing Date or treated as arising prior to the Filing
Date pursuant to 11 U.S.C. § 502(i) on the terms herein, and the GDR shall be permanently
enjoined from seeking payment in excess of the amounts provided for in the Plan for such claims.
After the Government Bar Date, any estimated claim of the GDR shall be capped at (i) if a proof
of claim was timely filed, the amount provided in the proof of claim filed by the GDR prior to the
Bar date or (ii) if no proof of claim is timely filed, the amount provided in Debtor’s schedules,
unless the Debtor scheduled such amount as unliquidated, contingent, or disputed, or if no claim
was scheduled, in which case such amounts will be $0.00.

        Any Class 2 GDR Tax Claim shall be paid pursuant to Class 2, and any GDR general
unsecured tax claim is specifically classified and will be paid pursuant to the General Unsecured
Class 10. Debtor shall pay any Allowed Class 2 GRD Tax Claim in equal monthly payments of
$50.00 each commencing on the 28th day of the first full month following the Effective Date and
continuing by the 28th day of each subsequent month (or the next Business Day if the 28th day is
not a business day), until paid in full; provided, however, that any Allowed Class 2 GDR Tax
Claim that has not been paid in full on or before the 5th anniversary of the Filing Date shall be paid
with a final balloon payment on the 5th anniversary of the Filing Date (i.e. September 1, 2028)
unless such Holder agrees to a longer payment term, which such agreement may be communicated

                                                  12
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24               Desc Main
                                  Document     Page 13 of 37



by the Holder continuing to accept monthly payments after September 1, 2028. Any third-party
payments or payments in excess of the scheduled distribution pursuant to Class 2 received by the
GDR shall be applied to the principal tax obligation of the Class 2 GDR Tax Claim owed by Debtor
pursuant to Class 2. Debtor’s Class 2 payments shall be applied in the following order: (i) interest
accruing on the Class 2 Tax Claim after the Effective Date under the Plan, (ii) the taxes included
in the Class 2 GDR Tax Claim, and (iii) interest and penalties which accrued prior to the Filing
Date and Effective Date.

        A failure by the Debtor to make a payment on the Class 2 GDR Tax Claim to the GDR
pursuant to the terms of this Plan shall be an event of default as to the GDR. In the event of a
default under Class 2, the GDR must send a Default Notice to Debtor in accordance with Article
2.3 of the Plan. Such Default Notice must contain the reason for the default and if such default is
monetary, the amount of the default and amount necessary to cure the default and the address for
payment, which will accept overnight deliveries. Receipt by Debtor’s attorney shall not be deemed
receipt by Debtor of the required Default Notice. In the event of an uncured default under Class 2
following proper Default Notice procedures and opportunity to cure pursuant to Article 2.3 of the
Plan, the GDR may (a) enforce the entire amount of its then outstanding Allowed Class 2 GDR
Tax Claim; (b) exercise any and all rights and remedies it may have under applicable non-
bankruptcy law regarding the Allowed Class 2 GDR Tax Claim; and (c) seek such relief as may
be appropriate in the Bankruptcy Court.

        The amount of any claim of the GDR that is not otherwise assessable or due and payable
on or prior to the Filing Date or treated as arising prior to the Filing Date pursuant to 11 U.S.C.
§ 502(i), and the right of the GDR, if any, to payment in respect thereto, shall (i) be determined in
the manner in which the amount of such Claim and the rights of the GDR would have been resolved
or adjudicated if the Bankruptcy Case had not been commenced, (ii) survive after the Effective
Date as if the Bankruptcy Case had not been commenced, and (iii) not be discharged pursuant to
section 1192 or 1141 (as applicable) of the Bankruptcy Code. The rights and treatment of the
GDR and obligations and liability of Debtor or its property regarding any claim of the GDR against
Debtor which was assessable or due and payable prior to the Filing Date or treated as arising prior
to the Filing Date pursuant to 11 U.S.C. § 502(i) shall be treated and fixed in accordance with the
Plan, and any additional, other, or amended claims assessable or due and payable prior to the Filing
Date and not timely asserted or amended by the GDR in accordance with the Bankruptcy Code
and the Plan and in all instances prior to entry of the Confirmation Order, shall be forever barred.
Debtor reserves the right to pay any tax claim in full at any time.

       The Claim of the Class 2 Creditor is not Impaired by the Plan and the holder of the Class
2 Claim is conclusively deemed to have accepted the plan.

       4.3     Class 3:     Secured or Priority Tax Claims of Governmental Units Not
               Otherwise Classified

        Class 3 consists of any Priority or Secured Claim of a governmental unit entitled to priority
under 11 U.S.C. § 507(a)(8), which are not otherwise specifically classified in the Plan (“Class 3
Governmental Unit Claim”). The amount of any claim of a Governmental Unit that is not assessed
or assessable on or prior to the Effective Date, and the right of the particular governmental unit, if

                                                 13
Case 23-58494-sms         Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24               Desc Main
                                   Document     Page 14 of 37



any, to payment in respect thereto shall (i) be determined in the manner in which the amount of
such Claim and the rights of the particular governmental unit would have been resolved or
adjudicated if the Bankruptcy Case had not been commenced, (ii) survive after the Effective Date
as if the Bankruptcy Case had not been commenced, and (iii) not be discharged pursuant to section
1192 or 1141 (as applicable) of the Bankruptcy Code if applicable. Debtor is not aware of any
potential Holders of Class 3 Governmental Unit Claims not otherwise classified in the Plan.

       In the event there are Allowed Holders of Class 3 Governmental Unit Priority Tax Claims,
Debtor shall pay such Allowed Class 3 Government Unit Priority Tax Claims at the rate of $50.00
per month commencing on the 28th day of the first full month following the Effective Date and
continuing by the 28th day of each subsequent month (or the next Business Day if the 28th day is
not a Business Day), with interest accruing on the principal tax obligation at the annual rate of
3.00%, with a final balloon payment on the 5th anniversary of the Filing Date (i.e. September 1,
2028) unless such Holder agrees to a longer payment term, which such agreement may be
communicated by the Holder continuing to accept monthly payments after October 17, 2027.
Debtor reserves the right to pay any Class 3 Governmental Unit Claim in full at any time.

        Any third-party payments or payments in excess of the scheduled distribution pursuant to
Class 3 received by such holder shall be applied to the principal tax obligation owed by Debtor
pursuant to Class 3 to such holder. Debtor’s Class 3 payments shall be applied in the following
order: (i) interest accruing on the Class 3 Governmental Unit Priority Tax Claim after the Effective
Date under the Plan, (ii) the taxes included in the Class 3 Governmental Unit Priority Tax Claim
and (iii) interest and penalties which accrued prior to the Effective Date.

         The Government Bar Date for filing proofs of claim is fixed by 11 U.S.C. §502 and is
February 28, 2024. Upon passage of the Government Bar Date, any claim asserted or assertable
by a Holder of a Class 3 Claim on or before the Filing Date or treated as arising prior to the Filing
Date pursuant to 11 U.S.C. §502(i) shall: (i) be time barred and fixed as provided in the Plan,
subject to Debtor’s right to object to the same and (ii) any other, additional or amended claim
assessable on or prior to the Filing Date shall be disallowed in its entirety and forever discharged.
Debtor shall pay any claim of a governmental entity assessable, arising prior to the Filing Date or
treated as arising prior to the Filing Date pursuant to 11 U.S.C. §502(i) on the terms herein, and
the governmental shall be permanently enjoined from seeking payment in excess of the amounts
provided for in the Plan for such claims. After the Government Bar Date, any estimated claim of
a governmental unit shall be capped at (i) if a proof of claim was timely filed, the amount provided
in the proof of claim filed by such Holder prior to the Bar date or (ii) if no proof of claim is timely
filed, the amount provided in Debtor’s schedules unless the Debtor scheduled such amount as
unliquidated, contingent or disputed, or if no claim was scheduled, in which case such amounts
will be $0.00.

        A failure by the Debtor to make a payment under Class 3 to the Holder of a Class 3
Governmental Unit Tax Claim pursuant to the terms of the Plan shall be an event of default as to
such Governmental Unit under Class 3. In the event of a default under Class 3, the Holder of a
Class 3 Governmental Unit Tax Claim must send a Default Notice to Debtor in accordance with
Article 2.3 of the Plan. Such Default Notice must contain the reason for the default and if such
default is monetary, the amount of the default and amount necessary to cure the default and the

                                                  14
Case 23-58494-sms             Doc 36     Filed 11/30/23 Entered 11/30/23 17:14:24                        Desc Main
                                        Document     Page 15 of 37



address for payment, which will accept overnight deliveries. Receipt by Debtor’s Attorney shall
not be deemed receipt by Debtor of the required Default Notice. In the event of an uncured default
under Class 3 following proper Default Notice procedures and opportunity to cure pursuant to
Article 2.3 of the Plan, the Holder of a Class 3 Governmental Unit Tax Claim may (a) enforce the
entire amount of its then outstanding Allowed Class 3 Governmental Unit Tax Claim; (b) exercise
any and all rights and remedies it may have under applicable non-bankruptcy law regarding the
Allowed Class Governmental Unit Tax Claim; and (c) seek such relief as may be appropriate in
the Bankruptcy Court.

       The Claim of Class 3 Creditors are not Impaired by the Plan and the holders of the Class 3
Claims are conclusively deemed to have accepted the plan.

       Nothing herein shall constitute an admission as to the nature, validity, or amount of any
such claim. Debtor reserves the right to object to any and all claims.

         4.4      Class 4: Secured Claims of FRC VTX Assets, LLC dba Flatiron Realty
                  Capital (1410 Lavista Road, Atlanta, GA 30324)

        Class 4 shall consist of the Secured Claim of FRC VTX Assets, LLC dba Flatiron Realty
Capital (“FRC VTX”) (such amount owed to FRC VTX and as allowed by the Court plus interest
accruing pursuant to this Class 4 shall be referred to herein as the “Class 4 Secured Claim”). Debtor
scheduled FRC VTX as holding a claim in the amount of $1,857,700.00. FRC VTX filed Proof of
Claim 5, asserting a secured claim of $1,841,994.69, comprised of (i) $1,857,700.00 in principle,
(ii) $76,285.93 in accrued interest, (iii) $48,412.22 in accrued default interest, (iv) $13,065.54 in
fees, (v) a credit of $154,004.00 for undrawn rehab escrow, and (vi) $575.00 in post-petition
attorney’s fees.

       On or about November 7, 2022, Debtor executed a certain a promissory note, security deed
and other loan documentation (the “FRC VTX Pre-Petition Loan Documents”) in favor of FRC
VTX, in the principal amount of $1,875,700.00.

        The Class 4 Secured Claim is secured by a first priority lien on that certain real property
located at 1410 Lavista Road, Atlanta, GA 30324 (the “Lavista Road Property”) pursuant to a
security deed recorded in Deed Book 30673, Page 410, Fulton County, Georgia (the “Security
Deed”). The FRC VTX Pre-Petition Loan Documents and Security Deed are referred to herein
collectively as the “Class 4 Loan Documents.”

         Debtor asserts the fair market value of the Lavista Road Property is $2,900,000.00.

       Debtor is currently a party to a purchase and sale contract regarding the sale of 1410 Lavista
Road to Mary Seats 2. Debtor intends to amend the contract to provide for a closing date of on or

2
  Ms. Seats filed Proof of Claim No. 4 in the amount of $700,000 asserting a claim for monies paid in relation to the
purchase and sale of the Lavista Road Property. The Debtor intends to sell the property to Ms. Seats which will satisfy
her claim in full. To the extent that Ms. Seats does not execute the amendment and the sale of the Lavista Road
Property does not close, Debtor intends on objecting to the POC NO. 4 and relisting the Lavista Road Property for
sale.

                                                         15
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24              Desc Main
                                  Document     Page 16 of 37



before April 30, 2024 in the amount of $2,900,000.00. The Class 4 Secured Claim shall be paid in
full at such closing.

       Nothing herein shall constitute an admission as the nature, validity, or amount of claim.
Debtor reserves the right to object to any and all claims for any reason.

       The holder of the Class 4 Secured Claim is Impaired and entitled to vote to accept or reject
the Plan. Nothing contained herein shall prohibit Debtor from objecting to the Class 4 Claim for
any reason.
       4.5     Class 5: Secured Claims of SSA NE Assets dba Flatiron Realty Capital (2153
               Cooper Lake, Smyrna, GA 30080)

        Class 5 shall consist of the Secured Claim of SSA NE Assets dba Flatiron Realty Capital
(“SSA”) (such amount owed to SSA and as allowed by the Court plus interest accruing pursuant
to this Class 5 shall be referred to herein as the “Class 5 Secured Claim”). Debtor scheduled SSA
as holding a claim in the amount of $1,350,000.00. SSA filed Proof of Claim 5, asserting a secured
claim of $1,280,018.79, comprised of (i) $1,171,170 in principle, (ii) $49,956.66 in accrued
interest, (iii) $94,227.68 in accrued default interest, (iv) a credit of $55,512.60 for undrawn rehab
escrow, (v) $11,853.07 in protective advances, (vi) $9,748.98 in fees, and (vii) $575.00 in post-
petition attorney’s fees.

        On or about November 7, 2022, Debtor executed a certain a promissory note, security deed
and other loan documentation in favor of FRC VTX Assets LLC, as assigned to SSA NE Assets
LLC (the “SSA Pre-Petition Loan Documents”), in the principal amount of $1,171,170.00.

        The Class 5 Secured Claim is secured by a first priority lien on that certain real property
located at 2153 Cooper Lake, Smyrna, GA 30080 (the “Cooper Lake Property”) pursuant to a
security deed recorded in Deed Book 16101, Page 5294, Cobb County, Georgia (the “Security
Deed”). The SSA Pre-Petition Loan Documents and Security Deed are referred to herein
collectively as the “Class 5 Loan Documents.”

       Debtor asserts that the fair market value of the Cooper Lake Property is $2,100,000.00.

         Debtor will pay the Class 5 Secured Claim as follows: Beginning on June 30, 2024 and
continuing on the last day of each month through and including November 15, 2024, Debtor shall
make monthly interest only payments on the Class 5 Secured Claim at the contractual interest rate
of 13%, calculated at $13,866.87 per month. Debtor shall pay all outstanding principal and interest
on December 31, 2024. SSA shall retain its lien on the Cooper Lake Property and pursuant to the
Security Deed, said lien shall be valid and fully enforceable to the same validity and priority as
existed on the Filing Date and to the extent of the Class 5 Secured Claim. Upon receipt of payment
in full of the Class 5 Secured Claim, SSA shall release its lien on the Cooper Lake Property and
shall mark any lien as satisfied. Any payments paid to SSA after the Filing Date but before the
Effective Date shall be applied first to the principal balance of the Class 5 Secured Claim and then
to interest accruing on the Class 5 Secured Claim.




                                                 16
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24               Desc Main
                                  Document     Page 17 of 37



       Nothing herein shall constitute an admission as the nature, validity, or amount of claim.
Debtor reserves the right to object to any and all claims for any reason.

       The holder of the Class 5 Secured Claim is Impaired and entitled to vote to accept or reject
the Plan. Nothing contained herein shall prohibit Debtor from objecting to the Class 5 Claim for
any reason.

       4.6     Class 6: Secured Claims of Homegrown Capital, LLC

        Class 6 shall consist of the Secured Claim of Homegrown Capital (“Homegrown”) (such
amount owed to Homegrown and as allowed by the Court plus interest accruing pursuant to this
Class 6 shall be referred to herein as the “Class 6 Secured Claim”). Debtor scheduled Homegrown
as holding a claim in the amount of $1,052,836.77. Homegrown filed Proof of Claim 12, asserting
a secured claim of $1,099,112.23. Such Proof of Claim is comprised of three loans: (i) 0 Union
Road (Stonewall Manor Estates), (ii) 4269 Manor Street, and (iii) 5622 Livesage Drive.

       Class 6A

        On the 0 Union Road (Stonewall Manor Estates) loan, Homegrown’s Proof of Claim 12
asserted as secured claim comprised of (i) $175,000 in unpaid principal, (ii) $19,599.97 in accrued
interest, (iii) $1,677.81 in unpaid interest, (iv) $875 in late fees, (v) $5,556.25 in pro-rated
extension fee, and (vii) $100 for a payoff fee (the “Class 6A Secured Claim”).

        On or about February 16, 2022, Debtor executed a certain a promissory note, deed to
secure debt and other loan documentation (the “Homegrown Stonewall Manor Pre-Petition Loan
Documents”) in favor of Homegrown in the principal amount of $175,000.00.

       The Class 6A Secured Claim is secured by a first priority lien on that certain real property
located at 0 Union Road in Stonewall Manor (the “Union Road Property”) pursuant to a security
deed recorded in Deed Book 65309, page 562, Fulton County, Georgia (the “Security Deed”) and
an Assignment of Leases and Rents in Deed Book Fulton County, Georgia, Deed Book 65309,
Page 575 (the “ALR”). The Homegrown Stonewall Manor Pre-Petition Loan Documents, Security
Deed, and ALR are referred to herein collectively as the “Class 6A Loan Documents.”

       Debtor assets the fair market value of the Union Road Property to be $470,000.00.

        Debtor will pay the Class 6A Secured Claim as follows: Beginning on June 30, 2024 and
continuing on the last day of each month through and including November 15, 2024, Debtor shall
make monthly interest only payments on the Class 6A Secured Claim at the contractual interest
rate of 12%, calculated at $2,028.09 per month. Debtor shall pay all outstanding principal and
interest on December 31, 2024. Homewood shall retain its lien on the Stonewall Manor property
and pursuant to the Security Deed, said lien shall be valid and fully enforceable to the same validity
and priority as existed on the Filing Date and to the extent of the Class 6A Secured Claim. Upon
receipt of payment in full of the Class 6A Secured Claim, Homewood shall release its lien on the
Stonewall Manor property and shall mark any lien as satisfied. Any payments paid to Homewood
after the Filing Date but before the Effective Date shall be applied first to the principal balance of

                                                 17
Case 23-58494-sms         Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24                Desc Main
                                   Document     Page 18 of 37



the Class 6A Secured Claim and then to interest accruing on the Class 6A Secured Claim.

       Nothing herein shall constitute an admission as the nature, validity, or amount of claim.
Debtor reserves the right to object to any and all claims for any reason.

        The holder of the Class 6A Secured Claim is Impaired and entitled to vote to accept or
reject the Plan. Nothing contained herein shall prohibit Debtor from objecting to the Class 6A
Claim for any reason.

        Class 6B

       On the 4269 Manor Street loan, Homegrown’s Proof of Claim 12 asserted as secured claim
comprised of (i) $775,000 in unpaid principal, (ii) $72,225.70 in accrued interest, (iii) $4,110.14
in unpaid interest, (iv) $3,196.89 in late fees, (v) $13,562.50 in pro-rated extension fee, (vi) a credit
of $500,000 for remaining LIP and (vii) $100 for a payoff fee.

        On or about February 4, 2022, Debtor executed a certain a promissory note, deed to secure
debt and other loan documentation (the “Homegrown 4269 Manor Pre-Petition Loan Documents”)
in favor of Homegrown in the principal amount of $775,000.00.

       The Class 6B Secured Claim is secured by a first priority lien on that certain real property
located at 4269 Manor Street Property (the “Manor Street Property”) pursuant to a security deed
recorded in Deed Book 16024, Page 2454, Cobb County, Georgia (the “Security Deed”) and
Assignment of Leases and Rents recorded in Deed Boook 16024, Page 2468, Cobb County,
Georgia (the “ALR”). The Homegrown 4269 Manor Pre-Petition Loan Documents, Security Deed,
and ALR are referred to herein collectively as the “Class 6B Loan Documents.”

        Debtor asserts the fair market value of the Manor Street Property to be $1,200,000.00.

         Debtor will pay the Class 6B Secured Claim as follows: Beginning on April 30, 2024 and
continuing on the last day of each month through and including November 15, 2024, Debtor shall
make monthly interest only payments on the Class 6B Secured Claim at the contractual interest
rate of 11%, calculated at $3,375.12 per month. Debtor shall pay all outstanding principal and
interest on December 31, 2024. Interest shall accrue on the principal balance of the Class 6B
Secured Claim at the annual rate of 11%. Homegrown shall retain its lien on the 4269 Manor
Property and pursuant to the Security Deed, said lien shall be valid and fully enforceable to the
same validity and priority as existed on the Filing Date and to the extent of the Class 6B Secured
Claim. Upon receipt of payment in full of the Class 6B Secured Claim, Homegrown shall release
its lien on the 4269 Manor Property and shall mark any lien as satisfied. Any payments paid to
Homegrown after the Filing Date but before the Effective Date shall be applied first to the principal
balance of the Class 6B Secured Claim and then to interest accruing on the Class 6B Secured
Claim.

       Nothing herein shall constitute an admission as the nature, validity, or amount of claim.
Debtor reserves the right to object to any and all claims for any reason.



                                                   18
Case 23-58494-sms       Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24            Desc Main
                                 Document     Page 19 of 37



        The holder of the Class 6B Secured Claim is Impaired and entitled to vote to accept or
reject the Plan. Nothing contained herein shall prohibit Debtor from objecting to the Class 6B
Claim for any reason.

       Class 6C

       On the 5622 Livesage Drive loan, Homegrown’s Proof of Claim 12 asserted as secured
claim comprised of (i) $501,899.49 in unpaid principal, (ii) $32,669.37 in accrued interest, (iii)
$1,384.94 in late fees, (iv) $8,154.17 in prorated extension fee, (v) a credit of $16,100 for
remaining LIP, (vi) $100 for a payoff fee.

        On or about November 8, 2021, Debtor executed a certain a promissory note, deed to
secure debt and other loan documentation (the “Homegrown 5422 Livesage Pre-Petition Loan
Documents”) in favor of Homegrown in the principal amount of $775,000.00.

        The Class 6C Secured Claim is secured by a first priority lien on the Stonewall Manor
Property pursuant to a second modification agreement of note and deed to secure debt recorded in
Deed Book 66938, Page 271, Fulton County, Georgia (the “Security Deed”). The Homegrown
Stonewall Manor Pre-Petition Loan Documents and Security Deed are referred to herein
collectively as the “Class 6C Loan Documents.”

        Debtor shall amend the pending purchase and sale contract regarding the sale of 5622
Livesage Drive to provide for a closing date of December 29, 2023 in the amount of $596,136.00.
The Class 6C Secured Claim shall be paid in full at such closing.To the extent that the buyer does
not execute the amendment on or before December 15, 2023, Debtor shall relist the property for
sale to close and shall satisfy the Class 6C claim on or before April 30, 2024.

       Nothing herein shall constitute an admission as the nature, validity, or amount of claim.
Debtor reserves the right to object to any and all claims for any reason.

        The holder of the Class 6C Secured Claim is Impaired and entitled to vote to accept or
reject the Plan. Nothing contained herein shall prohibit Debtor from objecting to the Class 6C
Claim for any reason.

       4.7     Class 7: Secured Claims of Precision Group Drywall

        Class 7 shall consist of the Secured Claim of Precision Group Drywall & Painting
Incorporated (“Precision”) (such amount owed to Precision and as allowed by the Court plus
interest accruing pursuant to this Class 7 shall be referred to herein as the “Class 7 Secured
Claim”). Debtor scheduled Precision as holding an unsecured claim in the amount of $31,072.00.
Precision filed Proof of Claim 2, asserting a secured claim of $31,072.00, and attached a
materialman’s claim of lien filed in Lien Book 2579, Pg 491, DeKalb County, GA.

      Debtor shall pay the Class 7 Secured Claim in full contemporaneously with the Lavista
Road Property closing as set forth in Class 2.



                                               19
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24            Desc Main
                                  Document     Page 20 of 37



       Nothing herein shall constitute an admission as the nature, validity, or amount of claim.
Debtor reserves the right to object to any and all claims for any reason.

       The holder of the Class 7 Secured Claim is Impaired and entitled to vote to accept or reject
the Plan. Nothing contained herein shall prohibit Debtor from objecting to the Class 7 Claim for
any reason.

       4.8     Class 8: Secured Claims of Robert Smith (equitable lien theory)

        Class 8 shall consist of the Secured Claim of Robert Smith (“Smith”) (such amount owed
to Primary and as allowed by the Court plus interest accruing pursuant to this Class 8 shall be
referred to herein as the “Class 8 Secured Claim”). Debtor listed Smith has holding a disputed
unsecured claim in the amount of $150,000.00. Smith filed Proof of Claim 10 asserting a secured
claim of $150,000.00 based on an order confirming an arbitration award of $150,000.00 and the
grant of an equitable lien. The order confirming the award, however, was filed on September 5,
2023, after the Bankruptcy Case was filed on September 1, 2023, and thus was in violation of the
stay. Accordingly, the Class 8 Secured Claim shall be reclassified as a Class 10 Unsecured Claim.

       Nothing herein shall constitute an admission as the nature, validity, or amount of claim.
Debtor reserves the right to object to any and all claims for any reason.

       The holder of the Class 8 Secured Claim is Impaired and entitled to vote to accept or reject
the Plan. Nothing contained herein shall prohibit Debtor from objecting to the Class 9 Claim for
any reason.

       4.9   Class 9: Secured Claims of Everest Business Funding, Hybrid Advance,
Infusion Capital Group, Rekeep Investments, Thor Capital Group, and Velocity Capital
Group

        Class 9 consists of the Secured Claims of Everest Business Funding, Hybrid Advance,
Infusion Capital Group, Rekeep Investments, Thor Capital Group, and Velocity Capital Group.
Debtor listed Everest Business Funding (“Everest”) as holding a $120,840.48 secured claim.
Everest has not filed a claim. Debtor listed Hybrid Advance as holding a $12,000 secured claim.
Hybrid Advance has not filed a claim. Debtor listed Infusion Capital Group (“Infusion”) has
holding an unknown secured claim. Infusion has not filed a claim. Debtor listed Rekeep
Investments (“Rekeep”) as holding a $130,350 secured claim. Rekeep has not filed a claim. Debtor
listed Thor Capital Group (“Thor”) has holding an unknown secured claim. Thor has not filed a
claim. (Each of these claims collectively, the “Asserted Class 10 Secured Claims”) The Bar Date
on each of these claims has passed without a proof of claim being filed. Each of the holders of an
Asserted Class 9 Secured Claim may assert a claim on personal property of the Debtor. There is
no personal property for such Asserted Class 10 Secured Claims to attach to.

        Accordingly, as of the Confirmation Date, all UCC filings related to the Asserted Class 9
Secured Claims shall be cancelled and of no further force and effect and Debtor shall be authorized
to record a cancellation of the same and any Asserted Class 10 Secured Claim shall be disallowed
in its entirety. Because Debtor listed Infusion and Thor as unknown and such entities have not

                                                20
Case 23-58494-sms              Doc 36     Filed 11/30/23 Entered 11/30/23 17:14:24                    Desc Main
                                         Document     Page 21 of 37



filed a Proof of Claim before the Bar Date, such claims shall be disallowed in their entirety. The
claims of Everest, Hybrid Advance, and Rekeep shall be classified as an unsecured claim pursuant
to Class 10 and Everest, Hybrid Advance, and Rekeep shall not be entitled to receive distribution
on account of the Class 9 Asserted Claim.

       Notwithstanding anything else in this Plan to the contrary, any Class 9 Claim shall be
reduced by any payment received by the creditor holding such claim from any third party or other
obligor and Debtor’s obligations hereunder shall be reduced accordingly.

       The Claims of the Class 9 Creditors are unimpaired by the Plan and the holders of the Class
9 Claims are deemed to have accepted the plan.

           4.10     Class 10: General Unsecured Claims

       Class 10 shall consist of general unsecured claims not otherwise specifically classified in
the Plan, including any deficiency claims pursuant to 11 U.S.C. §§ 506 and 522(f).

        Debtor will pay the Holders of Class 10 General Unsecured Claims in full over five years.
Debtor shall pay such Unsecured Total Distribution in semi-annually payments of $115,345.86 (as
detailed below) commencing on the 15th day of the sixth month following the Effective Date and
continuing semi-annually thereafter for a total of ten (10) payments.

           The Total Unsecured Distributions shall be $1,153,458.66.

       Debtor anticipates and projects but does not warrant the following Holders of Class 10
Claims under Class 10:


                                             Estimated          Projected
    Anticipated Holders                                                             POC
                                             Claim              Distribution

    Everest Business Funding                 $ 120,840.48          $120,840.48
    Hybrid Advance                              $12,000.00          $12,000.00
    Rekeep Investments                         $130,350.00         $130,350.00
    Velocity Capital Group                      $13,127.80          $13,127.80
    Arreguin's Paint Contractor                 $15,314.25          $15,314.25
    Robert Hale                                $155,000.00         $155,000.00                   7
    Carter Lumber                               $40,000.00          $40,000.00
    Environmental Materials, LLC                $23,314.25          $23,314.25                   33
    Limitless Landscaping                        $3,500.00           $3,500.00
    Matthew and Jessica Hall                   $160,000.00         $160,000.00                   6
    Randal Lowe Plumbing                      $ 6,343.68             $6,343.68


3
    Environmental Materials, LLC filed a duplicative proof of claim with proof of claim No. 9.

                                                          21
Case 23-58494-sms         Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24         Desc Main
                                   Document     Page 22 of 37



    Primary Investments Group 4        $377,503.53   $290,000.00              14
    Valley Insulation                   $11,496.78    $11,496.78               1
    AIG Property Casualty, Inc.              $0.00                            11
    Toro Granite                        $22,171.42    $22,171.42
    Robert Smith                     $150,000.00   $150,000.00                10
    Total                            $1,240,962.19 $1,153,458.66

        Notwithstanding anything else in this document to the contrary, any claim listed above
shall be reduced by any payment received by the creditor holding such claim from any third party
or other obligor, and Debtor’s obligations hereunder shall be reduced accordingly.

       The Claims of the Class 10 Creditors are Impaired by the Plan and the holders of Class 10
Claims are entitled to vote to accept or reject the Plan.

       Nothing herein shall constitute an admission as to the nature, validity, or amount of such
claim. Debtor reserves the right to object to any and all claims.

         4.11    Class 11: Equity Claims:

        Class 11 consists of the Equity Claims. Raymond Curry shall retain his interests in the
shares in Debtor.

                                             Article 5
                                        Subchapter V Trustee

         1.     Subchapter V Trustee.

         The Subchapter V Trustee was appointed by the United States Trustee in this case to
perform the duties described in section 1183(b) of the Bankruptcy Code, one of which is to
facilitate the development of a consensual plan of reorganization.

         7.      Termination of the Subchapter V Trustee’s Services.

        The services of the Subchapter V Trustee shall terminate upon “substantial consummation”
of the Plan, as defined in section 1101(2) of the Bankruptcy Code. Debtor shall directly make all
payments required under this Plan, including the first payments required for substantial
consummation of the Plan.


4
  Primary Investments Group has filed an Adversary Proceeding Case No. 23-05193 against the
Debtor alleging that its debt is non-dischargeable pursuant to 11 U.S.C. 523. Such assertions are
legally incorrect. Section 11 U.S.C § 523 is, by its terms, only applicable to debts owed by an
"individual debtor” Austin v. BFW Liquidation, LLC (In re BFW Liquidation, LLC), 471 B.R.
652, 667, 2012 Bankr. LEXIS 1259, *29-30. Regardless, Debtor disputes the amount of this claim
and intends on objecting to the same as the Primary Investments Group contract is capped at
$290,000.00
                                                22
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24             Desc Main
                                  Document     Page 23 of 37



       8.      Compensation of the Subchapter V Trustee.

       The Subchapter V Trustee shall be entitled to apply for reasonable compensation for the
Subchapter V Trustee’s fees and expenses under 11 U.S.C. §§ 330 and 503(b)(3) periodically
following confirmation of the Plan.

         Debtor shall pay all compensation awarded the Subchapter V Trustee as agreed by Debtor
and the Subchapter V Trustee or otherwise provided in Article 6 of the Plan. All unpaid accrued
and approved compensation of the Subchapter V Trustee shall be paid in full by the Debtor as part
of its Final Distribution.

                                          Article 6
                               Treatment of Unclassified Claims

       1.      Summary. Pursuant to section 1123(a)(1) of the Bankruptcy Code, Administrative
Expense Claims against Debtor are not classified for purposes of voting on, or receiving
Distributions under the Plan. Holders of such Claims are not entitled to vote on the Plan. All such
Claims, are instead treated separately in accordance with Article 6 of the Plan and in accordance
with the requirements set forth in sections 1129(a)(9)(A) and 1191(e) of the Bankruptcy Code, as
applicable.

       2.     Jones & Walden, LLC. With respect to potential Administrative Expense Claims,
Debtor, pursuant to Court order, retained the law firm of Jones & Walden, LLC (“Firm”) to serve
as bankruptcy counsel. As set forth in the employment application and supporting documents, the
Firm received a prepetition retainer in the amount of $25,000.00. As of the date hereof, the fees
and expenses incurred by the Firm have not exceeded the retainer. Debtor shall pay any unpaid
allowed Administrative Expense Claim held by the Firm in accordance with Article 6.3 below.

         3.      Professional Fees of the Firm and SubV Trustee. Any Allowed Administrative
Expense Claim of the Firm and the SubV Trustee shall be paid on the Effective Date. The Firm
and SubV Trustee shall share said distributions pro-rata based on a fraction, the numerator of which
is such holder’s Allowed Administrative Expense Claim and the denominator of which is the total
combined Allowed Administrative Expense Claims of the Firm and SubV Trustee. Said Allowed
Administrative Expense Claims of the Firm and SubV Trustee shall not be discharged under the
Plan. In the event of a default in the payment of the Admin Claim J&W & Sub V Trustee
distribution, the entire principal and interest due to said holder shall become due pursuant to the
Plan upon demand and become and be immediately due and payable without presentment, demand,
protest or further notice of any kind, all of which are expressly waived by Debtor. Any remedy
that is set forth in the Plan related to the Allowed Administrative Expense Claims of J&W or the
SubV Trustee is not exclusive of any other remedies that are provided for herein or by law and the
holder may commence an action to enforce the same, with this Plan being treated as and
constituting a contract under Georgia law.

       4.      Administrative Expense Claims. Subject to the provisions of sections 328, 330(a)
and 331 of the Bankruptcy Code, and unless otherwise specifically provided for in the Plan, each
holder of an Allowed Administrative Expense Claim (excluding the allowed claims of the Firm

                                                23
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24              Desc Main
                                  Document     Page 24 of 37



and Sub V Trustee) will be paid the full unpaid amount of such Allowed Administrative Expense
Claim in Cash on the latest of (1) the Effective Date, (ii) as soon as practicable after the date on
which such Claim becomes an Allowed Administrative Expense Claim, (iii) upon such other terms
as may be agreed upon by such holder and Debtor, (iv) if the Plan is confirmed under section
1191(b) of the Bankruptcy Code, pro-rata over the period (a) starting on the first day of the month
immediately following the month in which the order on the application by the holder of an Allowed
Administrative Expenses Claim became a Final Order and (b) ending on the first day of the month
in which the Final Distribution is due, or (v) as otherwise ordered by the Bankruptcy Court;
provided, however, that Allowed Administrative Expense Claims representing obligations
incurred by Debtor in the ordinary course of business after the Filing Date, or otherwise assumed
by Debtor on the Effective Date pursuant to this Plan, including any tax obligations arising after
the Effective Date, will be paid or performed by Debtor when due in accordance with the terms
and conditions of the particular agreements or non-bankruptcy law governing such obligations.
Debtor is paying post-petition bills and does not expect any claims for unpaid post-petition goods
and services other than possible professional fees.

         5.      Application for Administrative Expense Claim. Except as otherwise provided in this
Plan, any Person holding an Administrative Expense Claim, other than an Administrative Expense
Claim arising from the operation by Debtor of its business in the ordinary course of business, shall
file an application for allowance of such Administrative Expense Claim with the Bankruptcy Court
within thirty (30) days after the Confirmation Date. At the same time any Person files an
Administrative Expense Claim, such Person shall also serve a copy of the Administrative Expense
Claim upon counsel for Debtor and the Subchapter V Trustee. Any Person who fails to timely file
and serve an application for allowance of an Administrative Expense Claim shall be forever barred
from seeking payment of such Administrative Expense Claims by Debtor or the Estate.

       6.     Professional Fees. Any Person seeking an award by the Bankruptcy Court of
Professional Compensation shall file a final application with the Bankruptcy Court for allowance
of Professional Compensation for services rendered and reimbursement of expenses incurred
through the Confirmation Date within thirty (30) days after the Confirmation Date or by such other
deadline as may be fixed by the Bankruptcy Court.

        7.     Post-Confirmation Professional Fees. Debtor may pay professional fees incurred
after confirmation of the Plan without Court approval, other than the fees of the Subchapter V
Trustee, which must be approved by the Court.

                                           Article 7
                           Means for the Implementation of the Plan

        1.     Parties Responsible for Implementation of the Plan. Upon confirmation, Debtor
will be charged with administration of the Case. Debtor will be authorized and empowered to take
such actions as are required to effectuate the Plan. Debtor will file all post-confirmation reports
required by the United States Trustee’s office. Debtor will also file the necessary final reports and
may apply for a final decree after substantial consummation at such time as debtor deems
appropriate unless otherwise required by the Bankruptcy Court. Debtor shall be authorized to
reopen this case after the entry of a Final Decree to enforce the terms of the Plan including for the

                                                 24
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24               Desc Main
                                  Document     Page 25 of 37



purpose of seeking to hold a party in contempt or to enforce the confirmation or discharge
injunction or otherwise afford relief to Debtor.

       2.      Sources of Cash for Distribution.

               2.1.   The source of funds for the payments pursuant to the Plan is Debtor’s sale
       of the houses listed in this Plan as well as the continued operations of Debtor and future
       projects.

              2.2.    Debtor may maintain bank accounts under the confirmed Plan in the
       ordinary course of business. Debtor may also pay ordinary and necessary expenses of
       administration of the Plan in due course.

        3.       Preservation of Causes of Action. In accordance with section 1123(b)(3) of the
Bankruptcy Code, Debtor will retain and may (but is not required to) enforce all Retained Actions.
After the Effective Date, Debtor, in its sole and absolute discretion, shall have the right to bring,
settle, release, compromise, or enforce such Retained Actions (or decline to do any of the
foregoing), without further approval of the Bankruptcy Court. Debtor (or any successors, in the
exercise of their sole discretion), may pursue such Retained Actions so long as it is the best
interests of Debtor (or any successors holding such rights of action). The failure of Debtor to
specifically list any claim, right of action, suit, proceeding or other Retained Action in this Plan
does not, and will not be deemed to, constitute a waiver or release by Debtor of such claim, right
of action, suit, proceeding or other Retained Action, and Debtor will retain the right to pursue such
claims, rights of action, suits, proceedings and other Retained Actions in Debtor’s sole discretion
and, therefore, no preclusion doctrine, collateral estoppel, issue preclusion, claim preclusion,
estoppel (judicial, equitable or otherwise) or laches will apply to such claim, right of action, suit,
proceeding or other Retained Actions upon or after the confirmation or consummation of this Plan.
Debtor reserves all causes of actions for breach of any former or now existing agreement or
otherwise. Debtor specifically reserves any cause of action against any of Debtor’s account
debtors related to underpayment or non-payment of any fees, or other monies or receivables due.
The Plan shall not be deemed a waiver of any right of Debtor to collect any receivable or right to
payment under any applicable laws. Debtor expressly reserves the right to exercise any and all
remedies available to Debtor regarding its accounts receivable or rights to payment at law or in
equity, at such time or times as Debtor from time to time may elect. This Plan is filed with a full
reservation of rights. Any failure by Debtor to assert or set forth the occurrence of any other
default or events of default which may have occurred shall not be deemed to be a waiver, release
or estoppel of such other default or event of default. Debtor hereby expressly reserves the right to
declare any such other default or event of default and to take such other action as Debtor may be
entitled to applicable law. No delay on the part of Debtor in exercising any right or remedy shall
operate as a waiver in whole or in part of any right or remedy. This Plan is filed with a full
reservation of rights. Without limitation of the foregoing, Debtor specifically reserves all claims
under all Subcontractor Agreements listed on Schedule G against the counterparties listed.

        4.       Effectuating Documents, Further Transactions. Debtor is authorized to execute,
deliver, file, or record such contracts, instruments, releases, indentures, and other agreements or
documents, and take such action as may be necessary, desirable or appropriate to effectuate and
further evidence the terms and conditions of this Plan or to otherwise comply with applicable law.

                                                 25
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24              Desc Main
                                  Document     Page 26 of 37




         5.       Exemption from Certain Transfer Taxes and Recording Fees. Pursuant to 11
U.S.C. § 1146(a), O.C.G.A. §48-6-65(a)(2), Ga. Comp. R. & Regs. R. 560-11-8.14 and any other
applicable laws, codes or regulations, any transfers from Debtor to any other Person or entity
pursuant to or in contemplation of this Plan, or any agreement regarding the transfer of title to or
ownership of any of Debtor’s real or personal property will not be subject to any document
recording tax, stamp tax, conveyance fee, sales tax, intangibles or similar tax, mortgage tax, stamp
act, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording
fee, or other similar tax or governmental assessment. Without limitation of the foregoing, the
Confirmation Order may direct the appropriate state or local governmental officials or agents to
forego the collection of any such tax or governmental assessment and to accept for filing and
recordation any of the foregoing instruments or other documents without the payment of any such
tax or governmental assessment.

        6.      Further Authorization. Debtor shall be entitled to seek such orders, judgments,
injunctions and rulings as it deems necessary or desirable to carry out the intentions and purposes,
and to give full effect to the provisions, of this Plan.

        7.     Liabilities of Debtor. Debtor will not have any liabilities except those expressly
stated or assumed under the Plan. Debtor will be responsible for all expenses incurred by Debtor
in the ordinary course of business after the Filing Date, and those expenses will be paid in the
ordinary course of business as they become due or as agreed upon by holders of the expense claim.

                                             Article 8
                                           Distributions

       1.      Disbursing Agent.        Unless otherwise expressly provided for herein, all
Distributions under this Plan shall be made by Debtor or its agent.

       2.       Distributions of Cash. Any Distribution of Cash made by Debtor pursuant to this
Plan shall, at Debtor’s option, be made by check drawn on a domestic bank or by wire transfer
from a domestic bank or in any other form of cash or cash equivalent.

        3.     No Interest, Fees, Costs or Attorney Fees on Claims or Interests. Unless otherwise
specifically provided for in this Plan, the Confirmation Order, or a postpetition agreement in
writing between the Debtor and a Holder, postpetition interest, fees, costs or attorney fees shall
not accrue or be paid on Claims, and no Holder shall be entitled to interest, fees, costs or attorney
fees accruing on or after the Filing Date through and including the Effective Date on any
Claim. Additionally, and without limiting the foregoing, interest, fees, costs and attorney fees
shall not accrue or be paid on any Disputed Claim with respect to the period from the Effective
Date to the date a final determination is made when and if such Disputed Claim becomes an
Allowed Claim. The provisions of the section of the Plan shall include and pertain to, without
limitation, any such claim for post-petition interest, fees, costs or attorney fees pursuant to 11
U.S.C. §§ 503, 506 or 507.




                                                 26
Case 23-58494-sms         Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24                Desc Main
                                   Document     Page 27 of 37



        4.      Delivery of Distributions. The Distribution to a Holder of an Allowed Claim shall
be made by Debtor or the Subchapter V Trustee (as applicable) (a) at the address set forth on the
proof of claim filed by such Holder, (b) at the address set forth in any written notices of address
change delivered to Debtor after the date of any related proof of claim, (c) at the addresses reflected
in the Schedules if no proof of claim has been filed and Debtor has not received a written notice
of a change of address, or (d) if the Holder’s address is not listed in the Schedules, at the last known
address of such Holder according to the Debtor’s books and records. If any Holder’s Distribution
is returned as undeliverable, no further Distributions to such Holder shall be made unless and until
Debtor or Subchapter V Trustee (as applicable) is notified by such Holder in writing of such
Holder’s then-current address, at which time Debtor or Subchapter V Trustee (as applicable) shall
recommence Distributions to such Holder without interest but further provided that (i) any
distributions not claimed within 6 months of return shall be irrevocably retained by Debtor and (ii)
such Holder shall waive its right to such Distributions. All Distributions returned to Debtor or
Subchapter V Trustee (as applicable) and not claimed within six (6) months of return shall be
irrevocably retained by Debtor notwithstanding any federal or state escheat laws to the contrary.

        If any Distribution on an Unsecured Claim (“Unsecured Distribution”) is tendered by
Debtor or the Subchapter V Trustee (as applicable) to a Holder of an Unsecured Claim and
returned, refused or otherwise improperly returned (“Unsecured Distribution Refusal”), Debtor or
the Subchapter V Trustee (as applicable) shall not be responsible for making any further Unsecured
Distribution on account of such Unsecured Claim. Accordingly, in the event of an Unsecured
Distribution Refusal, Debtor or the Subchapter V Trustee (as applicable) shall be relieved of any
obligation to make said payment or Distribution and Debtor or the Subchapter V Trustee (as
applicable) is relieved of any obligation to make further payments or Distributions on such
Unsecured Claim under the Plan.

        If any Distribution on a Secured Claim or Priority Claim (“Secured or Priority
Distribution”) is tendered by Debtor or the Subchapter V Trustee (as applicable) to a Holder of a
Secured Claim or Priority Claim and returned, refused or otherwise improperly returned (“Secured
or Priority Distribution Refusal”), the Holder of such Secured Claim or Priority Claim, as
applicable, shall be deemed to have waived its right to such tendered payment or Distribution and
such tendered payment or Distribution shall be deemed satisfied. In the event of a Secured or
Priority Distribution Refusal, any obligation of Debtor or the Subchapter V Trustee (as applicable)
to make any additional or further payment on such Secured Claim or Priority Claim shall be tolled
until such time as: (i) notice is provided to Debtor that the Holder of such Secured Claim or Priority
Claim seeks to receive payments from Debtor on the Secured Claim or Priority Claim or otherwise
seeks to enforce Debtor’s obligations under the Plan or otherwise enforce the Secured Claim or
Priority Claim and (ii) any dispute regarding the Secured or Priority Distribution Refusal and its
implications is resolved by agreement of the parties or the Bankruptcy Court (the “Tolling
Period”). Only in the event of such notice to Debtor shall Debtor’s or the Subchapter V Trustee’s
(as applicable) obligations to perform as to the applicable Secured Claim or Priority Claim resume.
The Tolling Period shall: (i) extend the term of the payments on such Secured Claim or Priority
Claim and (ii) bar any interest from accruing on the Secured Claim or Priority Claim until such
time as any dispute regarding the Secured or Priority Distribution Refusal shall be resolved by a
Final Order of the court. Notwithstanding anything in the Plan or otherwise to the contrary, no
provision allowing the imposition of late fees, default interest, late charges, damages, or costs and

                                                  27
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24              Desc Main
                                  Document     Page 28 of 37



fees against the Debtor or the Debtor’s property shall be applicable during the Tolling Period or
any period during which a dispute regarding a Tolling Period is being resolved. For purposes of
clarification, Debtor or the Subchapter V Trustee (as applicable) shall not be required to make any
lump sum cure of payments or Distributions which would have otherwise come due during the
Tolling Period or any period during which a dispute regarding a Tolling Period is unresolved, and
Debtor or the Subchapter V Trustee (as applicable) shall recommence Distributions upon the
resolution of such on the terms in the Plan as tolled.

        5.      Distributions to Holders as of the Record Date. All Distributions on Allowed
Claims shall be made to the Record Holders of such Claims. As of the close of business on the
Record Date, the Claims register maintained by the Bankruptcy Court shall be closed, and there
shall be no further change in the Record Holder of any Claim. Debtor shall have no obligation to
recognize any transfer of any Claim occurring after the Record Date. Debtor shall instead be
entitled to recognize and deal for all purposes under this Plan with the Record Holders as of the
Record Date.

        6.       Fractional Dollars. Any other provision of this Plan notwithstanding, the Debtor
or the Subchapter V Trustee (as applicable) shall not be required to make Distributions or payments
of fractions of dollars. Whenever any payment of a fraction of a dollar under this Plan would
otherwise be called for, at Debtor’s or the Subchapter V Trustee’s (as applicable) option the actual
payment shall reflect a rounding of such fraction to the nearest whole dollar (up or down), with
half dollars or less being rounded down.

       7.      Withholding Taxes. Debtor shall comply with all withholding and reporting
requirements imposed by any federal, state, local, or foreign taxing authority, and all Distributions
under this Plan shall be subject to any such withholding and reporting requirements.

                                          Article 9
                   Procedures for Treating and Resolving Disputed Claims

       1.      Objections to Claims. Debtor shall be entitled to object to Claims, provided,
however, that Debtor shall not be entitled to object to Claims (i) that have been Allowed by a Final
Order entered by the Bankruptcy Court prior to the Effective Date, or (ii) that are Allowed by the
express terms of this Plan.

       2.      No Distributions Pending Allowance. Except as otherwise provided herein, no
Distributions will be made with respect to any portion of a Claim unless and until (i) no objection
to such Claim has been filed, or (ii) any objection to such Claim has been settled, withdrawn or
overruled pursuant to a Final Order of the Bankruptcy Court.

       3.      Resolution of Claims Objections. On and after the Confirmation Date, Debtor shall
have the authority to compromise, settle, otherwise resolve, or withdraw any objections to Claims
without approval of the Bankruptcy Court.




                                                 28
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24               Desc Main
                                  Document     Page 29 of 37



                                           Article 10
                            Provision for Assumption of Unexpired
                               Leases and Executory Contracts

       1.      Provisions Regarding Executory Contracts.

        Debtor shall assume (i) all exclusive broker agreements with Diamond Blackmon Owens
on (x) 1410 Lavista, (y) 4269 Maner, and (z) 5622 Livesage, (ii) any contracts for the provision of
insurance, including with AIG Property Casualty, Inc or its affiliate, Any unexpired leases or
executory contracts which are not assumed under the Plan or are the subject of a pending motion
to assume as of the Confirmation Date shall be deemed rejected pursuant to Section 365 of the
Bankruptcy Code on the Confirmation Date. Under the terms of the Plan, a proof of claim for
damages arising from such rejection must be filed in compliance with the Bankruptcy Rules on or
before sixty (60) days after the Confirmation Date. Any claims which are not timely filed will be
disallowed and discharged.

                                            Article 11
                             Effect of Plan on Claims and Interests

       1.      Vesting of Debtor’s Assets. Except as otherwise explicitly provided in the Plan,
upon the Court’s entry of the Confirmation Order, all property comprising the Estate (including
Retained Actions, but excluding property that has been abandoned pursuant to an order of the
Bankruptcy Court) shall revest in Debtor free and clear of all Claims, Liens, charges,
encumbrances, rights and Interests of creditors and equity security holders, except as specifically
provided in the Plan. As of the earlier of the Effective Date and the entry of a Final Decree, Debtor
may operate its business and use, acquire, and dispose of property and settle and compromise
Claims or Interests without supervision of the Bankruptcy Court, free of any restrictions of the
Bankruptcy Code or Bankruptcy Rules, other than those restrictions expressly imposed by the Plan
and Confirmation Order and, in the case of a Plan confirmed under § 1191(b), the supervision of
the Subchapter V Trustee.

       2.      Discharge of Debtor.

       2.1.    Discharge if Plan Confirmed Under Section 1191(a). In the event the Plan is
       confirmed under Section 1191(a), the Debtor shall receive a discharge as provided for
       under Section 1141(d) upon the Confirmation Date. Without limitation of such discharge
       but in addition thereto, the Distributions and rights that are provided in the Plan shall be in
       complete satisfaction, discharge, and release of all Claims and Causes of Action against
       Debtor, whether known or unknown, including any and all liabilities of Debtor, Liens on
       Debtor’s assets, obligations of Debtor, rights against Debtor, and Interests in Debtor or its
       Estate that arose prior to the Effective Date regardless of whether a claimant accepted or
       rejected the Plan.

       2.2.    Discharge if Plan Confirmed Under Section 1191(b). If the Plan is confirmed under
       section 1191(b), as soon as practicable after completion by the Debtor of the payment of
       all payments expressly provided for under this Plan due within five (5) years of the

                                                 29
Case 23-58494-sms         Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24                Desc Main
                                   Document     Page 30 of 37



       Effective Date, the Court shall grant Debtor a discharge. The Distributions and rights that
       are provided in the Plan shall be in complete satisfaction, discharge, and release of all
       Claims and Causes of Action against Debtor, whether known or unknown, including any
       and all liabilities of Debtor, Liens on Debtor’s assets, obligations of Debtor, rights against
       Debtor, and Interests in Debtor or its Estate that arose prior to the Effective Date regardless
       of whether a claimant accepted or rejected the Plan.

       3.      Setoffs. Debtor may, but shall not be required to, set off or recoup against any
Claim, and the payments or other Distributions to be made pursuant to this Plan in respect of such
Claim, claims of any nature whatsoever that Debtor may have now or in the future against such
Holder; but neither the failure to do so nor the allowance of any Claim hereunder shall constitute
a waiver or release by Debtor of any such claim that Debtor may have against such Holder.

        4.       Exculpation and Limitation of Liability. Under the Plan, Debtor’s current and/or
post-Filing Date and pre-Effective Date members, officers, directors, employees, advisors,
attorneys, representatives, financial advisors, investment bankers, or agents and any of such
parties’ successors and assigns, shall not have or incur, and shall be released from, any claim,
obligation, cause of action, or liability to one another or to any Holder of any Claim or Interest, or
any other party-in-interest, or any of their respective agents, employees, representatives, financial
advisor, attorneys, or Affiliates, or any of their successors or assigns, for any act or omission in
connection with, relating to, or arising out of the Bankruptcy Case, the negotiation and filing of
the Plan, the filing of the Bankruptcy Case, the pursuit of confirmation of the Plan, the
consummation of the Plan, or the administration of the Plan, except for their willful misconduct,
and in all respects shall be entitled to reasonably rely upon the advice of counsel with respect to
their duties and responsibilities under the Plan. No Holder of any Claim or Interest, or other party
in interest, none of their respective agents, employees, representatives, financial advisors, or
Affiliates, and no successors or assigns of the foregoing, shall have any right of action against the
parties listed in this provision for any act or omission in connection with, relating to, or arising out
of the Bankruptcy Case, the pursuit of confirmation of the Plan, the consummation of the Plan, or
the administration of the Plan. Fees and expenses which Debtor owes to its Professionals and to
the Subchapter V Trustee are excluded from this Exculpation.

        5.      Injunction.     The Confirmation Order shall act as a permanent injunction against
any Person: (a) commencing or continuing any action, (b) employing any process, or (c) any acting
to collect, offset, or recover any Claim except as provided for in this Plan against: (1) Debtor, or
(2) against any property of Debtor. Such injunction shall survive the closure of the Bankruptcy
Case and this Court shall retain jurisdiction to enforce such injunction. Such injunction shall
remain in effect as to each creditor for so long as payments to such creditor are provided for by
the Plan.

       6.      Effect of Confirmation.

       6.1.   Binding Effect. On the Confirmation Date, the provisions of this Plan shall be
       binding on Debtor, the Estate, all Holders of Claims against or Interests in Debtor, and all
       other parties-in-interest whether or not such Holders are Impaired and whether or not such
       Holders have accepted this Plan. Creditors shall have no right to enforce a Claim against

                                                  30
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24               Desc Main
                                  Document     Page 31 of 37



       Debtor, even following a default under the Plan, except to the extent and amount that any
       Claim of such creditor is provided for and then due under the Plan.

       6.2.    Filing of Reports. Debtor shall file all reports required by the Bankruptcy Code,
       Bankruptcy Rules, the Subchapter V Trustee, U.S. Trustee guidelines, and the rules and
       orders of the Bankruptcy Court.

       6.3.   Post-Effective Date Retention of Professionals. Upon the Effective Date, any
       requirement that professionals comply with §§ 327 through 331 of the Bankruptcy Code in
       seeking retention or compensation for services rendered after such date will terminate, and
       Debtor will employ and pay professionals in their ordinary course of business.

                                           Article 12
                                      Conditions Precedent

        1.      Conditions to the Effective Date. The following are conditions precedent to the
occurrence of the Effective Date, each of which may be satisfied or waived in accordance with
Article 12.2 of this Plan.

       1.1.1. The Confirmation Order shall not have been vacated, reversed or modified and, as
       of the Effective Date, shall not have been stayed;

       1.1.2. All documents and agreements to be executed on the Effective Date or otherwise
       necessary to implement this Plan shall be in form and substance that is acceptable to Debtor
       in its reasonable discretion;

       1.1.3. Debtor shall have received any authorization, consent, regulatory approval, ruling,
       letter, opinion, or document that may be necessary to implement this Plan and that is
       required by law, regulation, or order.

         2.      Waiver of Conditions to Confirmation or Consummation. The conditions set forth
in Article 12.1 of this Plan may be waived, in whole or in part, by Debtor without any notice to
any other parties in interest or the Bankruptcy Court and without a hearing. The failure to satisfy
or waive any condition to the Confirmation Date or the Effective Date may be asserted by Debtor
in its sole discretion regardless of the circumstances giving rise to the failure of such condition to
be satisfied (including any action or inaction by Debtor). The failure of Debtor to exercise any of
the foregoing rights shall not be deemed a waiver of any other rights, and each such right shall be
deemed an ongoing right, which may be asserted at any time.

                                         Article 13
                Retention and Scope of Jurisdiction of the Bankruptcy Court

        1.      Retention of Jurisdiction. Subsequent to the Effective Date, the Bankruptcy Court
shall have or retain jurisdiction for the following purposes:




                                                 31
Case 23-58494-sms       Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24               Desc Main
                                 Document     Page 32 of 37



       1.1.   To adjudicate objections concerning the allowance, priority or classification of
       Claims and any subordination thereof, and to establish a date or dates by which objections
       to Claims must be filed to the extent not established herein;

       1.2.   To liquidate the amount of any disputed, contingent or unliquidated Claim, to
       estimate the amount of any disputed, contingent or unliquidated Claim, to establish the
       amount of any reserve required to be withheld from any distribution under this Plan on
       account of any disputed, contingent or unliquidated Claim;

       1.3.  To resolve all matters related to the rejection, and assumption and/or assignment of
       any Executory Contract or Unexpired Lease of Debtor;

       1.4.   To hear and rule upon all Retained Actions, Avoidance Actions and other Causes
       of Action commenced and/or pursued by Debtor 5;

       1.5.   To hear and rule upon all applications for Professional Compensation, including
       the Subchapter V Trustee;

       1.6.  To remedy any defect or omission or reconcile any inconsistency in this Plan, as
       may be necessary to carry out the intent and purpose of this Plan;

       1.7.    To construe or interpret any provisions in this Plan and to issue such orders as may
       be necessary for the implementation, execution and consummation of this Plan, to the
       extent authorized by the Bankruptcy Court;

       1.8.  To adjudicate controversies arising out of the administration of the Estates or the
       implementation of this Plan;

       1.9.    To make such determinations and enter such orders as may be necessary to
       effectuate all the terms and conditions of this Plan, including the Distribution of funds from
       the Estate and the payment of claims;

       1.10. To determine any suit or proceeding brought by Debtor to recover property under
       any provisions of the Bankruptcy Code;

       1.11. To hear and determine any tax disputes concerning Debtor and to determine and
       declare any tax effects under this Plan;

       1.12. To determine such other matters as may be provided for in this Plan or the
       Confirmation Order or as may be authorized by or under the provisions of the Bankruptcy
       Code;



5
  Notwithstanding anything to the contrary in the Plan, Debtor shall be authorized to file any
Retained Action related to the collection of accounts receivable in any state or local court with
jurisdiction under applicable state law.
                                                32
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24               Desc Main
                                  Document     Page 33 of 37



       1.13. To determine any controversies, actions or disputes that may arise under the
       provisions of this Plan, or the rights, duties or obligations of any Person under the
       provisions of this Plan;

       1.14. To adjudicate any suit, action or proceeding seeking to enforce any provision of, or
       based on any matter arising out of, or in connection with, any agreement pursuant to which
       Debtor sold any of its assets during the Bankruptcy Case; and

       1.15.     To enter a final decree.

       1.16.     To enter an order of discharge.

       1.17.     To enforce and interpret any order or injunctions entered in this Bankruptcy Case.

        2.      Alternative Jurisdiction. In the event that the Bankruptcy Court is found to lack
jurisdiction to resolve any matter, then the District Court shall hear and determine such matter. If
the District Court does not have jurisdiction, then the matter may be brought before any court
having jurisdiction with regard thereto. Notwithstanding anything to the contrary herein, Debtor
shall be authorized to bring any action related to a lease, contract or account (including any account
receivable due to Debtor) to which Debtor is a party in any state or local court having jurisdiction
over such action.

        3.      Final Decree. If the Plan is confirmed, the Bankruptcy Court may, upon
application of Debtor, at any time after “substantial consummation” of the Plan as defined in
section 1101(2) of the Bankruptcy Code, enter a final decree in the case, notwithstanding the fact
that additional funds may eventually be distributed to parties in interest. In such event, the
Bankruptcy Court may enter an Order closing this case pursuant to section 350 of the Bankruptcy
Code, provided, however, that: (a) Debtor shall continue to have the rights, powers, and duties set
forth in this Plan; (b) any provision of this Plan requiring the absence of an objection shall no
longer be required except as otherwise ordered by the Bankruptcy Court; and (c) the Bankruptcy
Court may from time to time reopen the Bankruptcy Case if appropriate under applicable law,
including without limitation any of the following purposes: (1) administering Assets; (2)
entertaining any adversary proceedings, contested matters or applications Debtor has brought or
brings with regard to the liquidation of Assets and the prosecution of Causes of Action or otherwise
administering the Plan; (3) enforcing or interpreting this Plan or supervising its implementation;
or (4) for other cause.

                                           Article 14
                                    Miscellaneous Provisions

        1.     Modification of the Plan. Debtor shall be allowed to modify this Plan pursuant to
section 1193 of the Bankruptcy Code to the extent applicable law permits.

       2.     Pre-Confirmation Modifications. Debtor may modify the Plan at any time before
the Confirmation Hearing by filing the modification with the Court.



                                                 33
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24            Desc Main
                                  Document     Page 34 of 37



        3.     Modification After Confirmation And Prior to Substantial Consummation. Debtor
may modify the Plan upon a showing that circumstances warrant such a modification and after a
notice and hearing. If the Plan was confirmed under section 1191(a), any holder of a claim or
interest that has accepted or rejected the Plan is deemed to have accepted or rejected, as the case
may be, the plan as modified, unless, within the time fixed by the Court, such holder changes its
previous acceptance or rejection.

         4.    Modification After Substantial Consummation. If the Plan has been confirmed under
section 1191(b), Debtor may modify the Plan upon a showing the circumstances warrant such a
modification and after a notice and hearing. Debtor shall have the right to modify the Plan for at
least five years following the Effective Date.

        5.    Force Majeure. Without limitation of any other provisions of the Plan, the laws of
force majeure shall apply to the Plan and Debtor’s compliance with the Plan. Any Person with
obligation under this Plan will not be required to perform any obligation under this Plan or be
liable for damages to any other Person to whom performance is otherwise owed under this Plan so
long as the performance or non-performance of the obligation is delayed, caused, or prevented by
an act of God or force majeure. An “act of God” or “force majeure” is defined as hurricanes,
earthquakes, floods, fire, or any similar, substantial natural event, pandemics, laws, orders of
government, and any other cause not reasonably within the control of such Person with obligations
under the Plan and which by the exercise of due diligence the non-performing Party is unable in
whole or in part to prevent or overcome. All time periods for such performance will be extended
for the period that the act of God or force majeure is in place. Debtor further expressly reserved
the right to modify this Plan pursuant to Article 14 of the Plan upon the occurrence of an act of
God or force majeure. Debtor shall retain the right to reopen this Bankruptcy Case and seek other
relief pursuant to 11 U.S.C. § 305(a) for any reason, so long as the Bankruptcy Court finds that
such suspension is in the interests of creditors and the debtor.

        6.      Allocation of Plan Distributions Between Principal and Interest. To the extent that
any Allowed Claim entitled to a Distribution under this Plan is composed of indebtedness and
accrued but unpaid interest thereon, such distribution shall, to the extent permitted by applicable
law, be allocated for United States federal income tax purposes to the principal amount of the
Claim first and then, to the extent the consideration exceeds the principal amount of the Claim, to
the portion of the Claim representing accrued but unpaid interest.

        7.      Applicable Law. Except to the extent that the Bankruptcy Code or the Bankruptcy
Rules are applicable, the rights and obligations arising under this Plan shall be governed by the
laws of the State of Georgia. Without regard to application of any principles of law respecting
conflicts of law.

        8.     Preparation of Estate Returns and Resolution of Tax Claims. Debtor shall file all
tax returns and other filings with governmental authorities and may file determination requests
under section 505(b) of the Bankruptcy Code to resolve any Disputed Claim relating to taxes with
a governmental authority.




                                                34
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24             Desc Main
                                  Document     Page 35 of 37



       9.     Headings. The headings of the Articles and the sections of this Plan have been used
for convenience only and shall not limit or otherwise affect the meaning thereof.

        10.   Revocation of Plan. Debtor reserves the right, unilaterally and unconditionally, to
revoke and/or withdraw this Plan at any time prior to entry of the Confirmation Order, and upon
such revocation and/or withdrawal this Plan shall be deemed null and void and of no force and
effect.

        11.     No Admissions; Objection to Claims. Nothing in this Plan shall be deemed to
constitute an admission that any individual, corporation, partnership, trust, venture, governmental
unit, or any other form of legal entity or person as being the Holder of a Claim is the Holder of an
Allowed Claim, except as expressly provided in this Plan. The failure of Debtor to object to or
examine any Claim for purposes of voting shall not be deemed a waiver of Debtor’s rights to object
to or reexamine such Claim in whole or in part.

        12.     No Bar to Suits. Except as otherwise provided in Article 11 of this Plan, neither
this Plan or confirmation hereof shall operate to bar or estop Debtor from commencing any Cause
of Action, or any other legal action against any Holder of a Claim or any individual, corporation,
partnership, trust, venture, governmental unit, or any other form of legal entity, whether such
Cause of Action, or any other legal action arose prior to or after the Confirmation Date and whether
or not the existence of such Cause of Action, or any other legal action was disclosed in any
document filed by Debtor in connection with this Bankruptcy Case or whether or not any payment
was made or is made on account of any Claim. Without limitation, Debtor retains and reserves the
right to prosecute Retained Actions.

        13.     Exhibits/Schedules. All exhibits and schedules to this Plan, and all attachments
thereto, are incorporated into and are a part of this Plan as if set forth in full herein.




                                                35
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24             Desc Main
                                  Document     Page 36 of 37



                                           Article 15
                                       Tax Consequences
        Tax consequences resulting from confirmation of the Plan can vary greatly among the
various Classes of Creditors and Holders of Interests, or within each Class. Significant tax
consequences may occur as a result of confirmation of the Plan under the Internal Revenue Code
and pursuant to state, local, and foreign tax statutes. Because of the various tax issues involved,
the differences in the nature of the Claims of various Creditors, the taxpayer status and methods
of accounting and prior actions taken by Creditors with respect to their Claims, as well as the
possibility that events subsequent to the date hereof could change the tax consequences, this
discussion is intended to be general in nature only. No specific tax consequences to any Creditor
or Holders of an Interest are represented, implied, or warranted. Each Holder of a Claim or Interest
should seek professional tax advice, including the evaluation of recently enacted or pending
legislation, because recent changes in taxation may be complex and lack authoritative
interpretation. The Debtor assumes no responsibility for the tax effect that consummation of the
Plan will have on any given Holder of a Claim or Interest. Holders of Claims or Interest are
strongly urged to consult their own tax advisors covering the federal, state, local and foreign tax
consequences of the Plan to their individual situation.

       Respectfully submitted this 30th day of November, 2023.

                                              RA CUSTOM DESIGN, INC.

                                              By: /s/Raymond Curry
                                              Name: Raymond Curry


                                              JONES & WALDEN LLC

                                              /s/ Cameron M. McCord
                                              Cameron M. McCord
                                              Georgia Bar No. 143065
                                              699 Piedmont Ave NE
                                              Atlanta, Georgia 30308
                                              (404) 564-9300
                                              Attorney for Debtor in Possession




                                                36
Case 23-58494-sms        Doc 36    Filed 11/30/23 Entered 11/30/23 17:14:24              Desc Main
                                  Document     Page 37 of 37



                                 CERTIFICATE OF SERVICE

       I certify that on the date specified herein below I cause to be served a copy of the foregoing
documents via first class United States mail in a properly addressed envelope with sufficient
postage affixed thereto to ensure delivery upon the parties listed below:

       Office of the United States Trustee
       362 Richard B. Russell Federal Bldg.
       75 Ted Turner Drive, SW
       Atlanta, Georgia 30303

       This 30th day of November, 2023.

                                              JONES & WALDEN LLC

                                              /s/ Cameron M. McCord
                                              Cameron M. McCord, Esq.
                                              Georgia Bar No. 143065
                                              699 Piedmont Ave NE
                                              Atlanta, Georgia 30308
                                              (404) 564-9300
                                              Attorney for Debtor




                                                 37
